Case:15-17348-MER Doc#:93-1 Filed:02/13/18               Entered:02/13/18 13:59:52 Page1 of 1

      UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF COLORADO

    IN RE:                                                       CASE NO: 15-17348-MER

    DAVID W. HASKIN                                              CHAPTER 13

                   DEBTOR


                                   CERTIFICATE OF SERVICE


         The undersigned certifies that on February 13, 2018, I served by prepaid first class mail a
 copy of the Chapter 13 Trustee’s Motion to Modify Chapter 13 Plan and 9013-1(2) Notice on all
 parties against whom relief is sought and those otherwise entitled to service at the following
 addresses (attorney for Debtors receives electronic notice):

 DAVID W HASKIN
 437 W 116TH PL
 NORTGHLENN, CO 80234

 DUSTIN J. KLEIN
 1827 FEDERAL BLVD
 DENVER, CO 80204
 AND VIA CM/ECF:
 dklein@culpepperlaw.us

 SHELLPOINT MORTGAGE SERVICES
 PO BOX 10826
 GREENVILLE, SC 29603-0826

 SHELLPOINT MORTGAGE SERVICES
 C/O MCCARTHY & HOLTHUS LLP
 7700 E. ARAPAHOE RD, SUITE 230
 CENTENNIAL, CO 80112

 MARSHALL RECOVERY LLC
 VARGO & JOHNSON PC
 PO BOX 280389
 LAKEWOOD, COLORADO 80228

 DISCOVER BANK
 DISCOVER PRODUCTS INC
 PO BOX 3025
 NEW ALBANY, OH 43054-3025

 Dated: February 13, 2018                          By:    /s/ Adam M. Goodman
                                                             Adam M. Goodman
                                                             Chapter 13 Trustee
